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                        UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY



PAUL F. WILLIAMS and MAKSWILL
GROUP CORPORATION,
                                                Civ. No. 2:14-cv-5544-KM-MAH
                          Plaintiffs,

                  V.                                        OPINION

YING ZHOU, GUOLIANG TIAN (a/k/a Tony
Plan), and JIAHAO INTERNATIONAL
GROUP LTD.,

                          Defendants.



KEVIN MCNULTY, U.S.D.J.:

      Plaintiff Paul F. Williams (“Williams”) is a New Jersey resident and
plaintiff Makswill Group Corporation (“Makswill”) is a New Jersey corporation
with its principal place of business in New Jersey. Defendant Ying Zhou
(“Zhou”) is a New York resident. Defendant Guoliang Tian, also known as “Tony
Tian,” (“Tian”) is a citizen and resident of Shenzhen, China. Defendant Jiahao
International Group (“Jiahao”) is a corporation incorporated in Hong Kong with
offices in Shenzhen, China.

      Now before the court is the Rule 12(b)(2) motion of defendants Zhou,
Tian, and Jiahao to dismiss the amended complaint for lack of specific
personal jurisdiction. I find that this court has personal jurisdiction over the
defendants and thus will deny defendants’ motion.




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         I.       BACKGROUND’

         Plaintiff Williams is a New Jersey resident. (AC           ¶    1). He operates a
 professional consulting business through Makswill, a New Jersey corporation.
 (AC   ¶1J    2, 7). Williams is authorized by the Antiguan government to promote
 and market its Citizenship by Investment Program (“CIP”). (AC                  ¶   8). This
 program permits individuals to obtain Antiguan citizenship by making a
 monetary investment in the country’s economy. (AC                 ¶11   8, 10-li; Tian Aff.     ¶   2).
         Defendants contacted Williams on or about March 26, 2014 after having
 viewed plaintiffs’ contact information on the official website of the Antiguan
 Citizenship by Investment Unit. (AC       ¶   9; Tian Aff.   1]   5). Plaintiffs claim that Tian
 and Zhou are partners and co-owners of Jiahao. (AC                 ¶    10). Tian and Zhou
 insist that Zhou is strictly an interpreter, hired through a Chinese-language
 newspaper ad; Zhou alleges no ownership, involvement or stake in Jiahao
 beyond working as Tian’s translator. (Tian Aff.         ¶    5; Zhou Aff.     ¶f   3-4, 6-8).
         Williams first met Tian and Zhou at a restaurant in New Jersey. (AC

 ¶     ii). Defendants wanted to facilitate applications of Chinese nationals to
 various jurisdictions throughout the world that offered “economic citizenship.”
 (AC   ¶f     10, 11). Defendants sought Williams’ help negotiating the price for
 “economic citizenship” through Antigua’s CIP. (AC             ¶J    10, 11). Williams alleges
 that their meetings in New Jersey and New York led to a “verbal services
 agreement.” (AC       ¶   11).


       As stated in Section II, for the purposes of a motion to dismiss for lack of
 personal jurisdiction, the plaintiffs’ allegations are accepted as true and disputed facts
 are construed in favor of the plaintiffs. However, I will examine any evidence presented
 when factual allegations are discussed.
       Citations to the record are abbreviated as follows:
       “AC” = Amended Complaint (ECF no. 81)
       “Invin Cert.” = Attorney’s Certification of Stephen B. Invin (ECF no. 107) (Not
               the Attorney’s Certification for Defendant Guoliang Tian (ECF no. 107))
       “Tian Aff.” = Affidavit of Defendant Guoliang Tian (ECF no. 107)
       “Zhou Aff.” = Affidavit of Defendant Ying Zhou (ECF no. 107)
       “Alleged Contract” = Alleged Contract between Plaintiffs and Defendants (ECF
               no. 107)

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       Under the alleged “verbal services agreement,” Williams and Makswill
would be intermediaries in official discussions with senior members of the
Antiguan government, including the Prime Minister. (AC         ¶   11). Williams and
Makswill would be retained as consultants to obtain a discounted price for Tian
and Zhou’s clients, who would apply for Antiguan citizenship through the CIP.
(AC 11).

       Williams and Makswill proceeded to do “extensive work” to negotiate a
discounted price for the clients of Tian and Zhou. (AC     ¶   12). Williams and
Makswill met and negotiated with government officials, including the Prime
Minister of Antigua. (AC    1   13). From April 4, 2014 through August 22, 2014,
Williams worked for 1,120 hours on behalf of defendants. (AC ¶ 14). Williams
traveled to Antigua twice, incurring expenses of approximately $14,500. (AC

¶   15). On or about August 22, 2014, Williams and Makswill sent the
defendants an invoice in the amount of S322,500. (AC       ¶   16). This invoice
remains unpaid. (AC ¶i 16, 18). Williams and Makswill believe that the
defendants have continued to operate and build their business in Antigua by
“capitalizing upon the efforts of Plaintiff[s] for which [plaintiffs] were not
compensated.” (AC    ¶   19).

       Defendants deny the existence of a joint venture or “verbal services
agreement” with Williams and Makswill. (Invin Cert.        5). Defendants argue
that there was “a single page conditional contract” drafted by Williams, which
was translated into Chinese by Williams’s translator. (Invin Cert.       ¶   10). The
alleged “single page conditional contract” states, in full:

              I, Tony Tian, agree to pay to Paul Williams a consultancy fee
       in the amount of US$12,000 for each application submitted to the
       Antiguan Citizenship by Investment Program under the National
       Development Fund option. This consultancy fee represents
       compensation for services rendered by Mr. Williams and his
       company, MAKSWILL GROUP CORPORATION. This fee is
       contingent upon Mr. Williams negotiating with the Antiguan
       Government a reduction in the standard contribution to the
       National Development Fund to an amount of US$150,000 for each

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       application delivered to the CIP Unit by Mr. Tian and his company
       prior to June 4, 2014.
             The consultancy fee shall be paid as follows: (1) Upon
       approval by the Antiguan Government of the reduction in the
       contribution to the National Development Fund, US$2000 per
       application shall be paid immediately to Mr. Williams with
       each application submitted to the CIP Unit; 12) The remainder
       of the fees (US 10,000 per application) shall be paid to Mr.
       Williams at the same time the applicants submit their full
       contribution to the Fund after they have been approved by the
       Government for citizenship.
 (Alleged Contract).

       Williams and Makswill seek payment of the $322,500 invoice, alleging
 breach of contract, unjust enrichment, and quantum meruit. (AC       ¶11 20-37).
 Defendants argue that this court lacks personal jurisdiction over them.

       II.   LEGAL STANDARDS

       Once a defendant files a motion to dismiss for lack of personal
 jurisdiction pursuant to Federal Rule of Civil Procedure 12(b)(2), the plaintiff
 bears the burden of establishing sufficient facts to show that jurisdiction
 exists. Marten v. Godwin, 499 F.3d 290, 295-96 (3d Cir. 2007). Initially, a court
 must accept the plaintiffs allegations as true and construe disputed facts in
 favor of the plaintiff. Pinker v. Roche Holdings, Ltd., 292 F.3d 361, 368 (3d Cir.
 2002). Where factual allegations are disputed, however, the court must
 examine any evidence presented. See, e.g., Patterson v. FBI, 893 F.2d 595,
 603-04 (3d Cir. 1990) (“‘A Rule 12(b)(2) motion, such as the motion made by
 the defendants here, is inherently a matter which requires resolution of factual
 issues outside the pleadings, i.e. whether in personam jurisdiction actually
 lies. Once the defense has been raised, then the plaintiff must sustain its
 burden of proof in establishing jurisdictional facts through sworn affidavits or
 other competent evidence.”’ (quoting Time Share Vacation Club v. Atl. Resorts,
 Ltd., 735 F.2d 61, 66 n.9 (3d Cir. 1984)).




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      The plaintiff “need only establish a prima facie case of personal
jurisdiction.” Miller Yacht Sales, Inc. v. Smith, 384 F.3d 93, 97 (3d Cir. 2004).
However, a plaintiff may not “rely on the bare pleadings alone” in order to
withstand a motion to dismiss for lack of personal jurisdiction. Patterson, 893
F.2d at 604 (citation omitted). “Once the motion is made, plaintiff must
respond with actual proofs, not mere allegations.” Id. (citing Time Share
Vacation Club, 735 F.2d at 66 n.9).

      To assess whether it has personal jurisdiction over a defendant, a district
court must undertake a two-step inquiry. IMO Indus.. Inc. v. Kicked, AG, 155
F.3d 254, 258-59 (3d Cir. 1998). First, the court is required to use the relevant
state’s long-arm statute to see whether it permits the exercise of personal
jurisdiction. Id.; Fed. I?. Civ. P. 4(k). “Second, the court must apply the
principles of due process” under the federal Constitution. WorldScape, Inc. v.
Sails Capital Mgmt., No. 10-cv-4207, 2011 WL 3444218, at *3 (D.N.J. Aug. 5,
2011) (citing IMO Indus., 155 F.3d at 259).

      In New Jersey, the first step collapses into the second because “New
Jersey’s long-arm statute provides for jurisdiction coextensive with the due
process requirements of the United States Constitution.” Miller Yacht Sales,
384 F.3d at 96 (citing N.J. Ct. 1?. 4:4-4(c)). Accordingly, personal jurisdiction
over a non-resident defendant is proper in this Court if the defendant has
“certain minimum contacts with LNew Jersey] such that the maintenance of the
suit does not offend traditional notions of fair play and substantial justice.”
Provident Nat’l Bank v. CaL Fed. Say. & Loan Ass’n, 819 F.2d 434, 437 (3d Cir.
1987) (quoting Int’l Shoe Co. v. Washington, 326 U.S. 310, 316 (1945)) (internal
quotation marks omitted).

      There are two kinds of personal jurisdiction that allow a district court to
hear a case involving a non-resident defendant: general and specific. A court
may exercise general jurisdiction over a foreign corporation where “the
defendant’s contacts with the forum are so ‘continuous and systematic’ as to
render them essentially ‘at home’ in the forum state.” Senju Phann. Co., Ltd. v.

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 Metrics, Inc., 96 F. Supp. 3d 428, 435 (D.N.J. 2015) (citing DaimlerAG v.
 Bauman,      —   U.S.   —,   134 S. Ct. 746, 754 (2014); Goodyear Dunlop Tires
 Operations, S.A. u. Brown, 564 U.S. 915, 919 (2011); Helicopteros Nacionales de
 Colombia, S.A. z’. Hall, 466 U.S. 408, 414 (1984)).

       In contrast to general jurisdiction, specific jurisdiction relies on the
 defendant’s forum-related activities that give rise to the plaintiffs’ claims. See
 Helicopteros, 466 U.S. at 414 & n.8. Establishing specific jurisdiction requires
 a three-part inquiry: (A) whether there is purposeful availment—i.e., whether
 the defendant purposefully directed its activities at the forum; (B) whether
 there is relatedness—i.e., whether the litigation arises out of or relates to at
 least one of the contacts; and, if the first two requirements are met, (C) whether
 the exercise of jurisdiction otherwise comports with traditional notions of fair
 play and substantial justice. O’Connor v. Sandy Lane Hotel Co., Ltd., 496 F.3d
 312, 317 (3d Cir. 2007). The defendant need not be physically located in the
 state while committing the relevant acts. Burger King Corp. v. Rudzewicz, 471
 U.S. 462, 476 (1985). Nor is specific jurisdiction defeated merely because the
 bulk of harm occurred outside the forum. Keeton u. Hustler Magazine, Inc., 465
 U.S. 770, 779-80 (1984). Even a single act may satisfy the minimum contacts
 test if it creates a substantial connection with the forum. Burger King, 471 U.S.
 at 475 n.18.

       III.       DISCUSSION

       Plaintiffs concede that this court cannot exercise general jurisdiction over
 the defendants. Zhou and Tian are not residents of New Jersey and were not
 served while in New Jersey. See Bumham v. Superior Court of California, 495
 U.S. 604, 610-13 (1990). Jiahao lacks the “continuous and systematic” New
 Jersey contacts that would support general jurisdiction. See Helicopteros, 466
 U.S. at 4 14-15 & n.Y. i therefore address whether this court can exercise
 specific jurisdiction over the defendants.

       As stated above, establishing specific jurisdiction requires a three-part
 inquiry: (A) purposeful availment; (B) relatedness; and (C) whether the exercise

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of jurisdiction otherwise comports with traditional notions of fair play and
substantial justice. O’Connor, 496 F.3d at 317.

                 A. Purposeful Availment Requirement

        I first look to “purposeful availment,” i.e., whether the defendants
purposefully directed their activities at the forum state of New Jersey.
O’Connor, 496 F.3d at 317. A defendant must have “purposefully avail[edj itself
of the privilege of conducting activities within the forum State.” Hanson v.
Denckla, 357 U.S. 235, 253 (1958).

        Defendants argue that they have no substantial connection to New
Jersey; they allege that they had one meeting with Williams in New Jersey and
otherwise have no other contacts with the state. (Tian Aff.       ¶   7; Zhou Aff.       ¶   5).
Tian states that he has never advertised or solicited business in New Jersey.
(Tian Aff.   ¶   6). Tian and Jiahao do not have any offices in New Jersey. (Tian Aff.
¶   6). Zhou allegedly lives and works in New York. (AC     ¶   3; Zhou Aff.   ¶   2).

        However, various forms of communications between parties, including
written correspondence, telephone calls, and emails, may properly factor into
the minimum contacts analysis. See Grant Entm’t Grp., Ltd. v. Star Media Sales,
988 F.2d 476, 482 (3d Cir. 1993) (finding that written correspondence and
phone calls may count toward minimum contacts regarding foreign
defendants); George Young Co. v. Bury Brothers, Inc., No. 03-cv-3353, 2004 WL
1173129, at *5 (E.D. Pa. Apr. 2, 2004). “[Wjhen the plaintiff can proffer
evidence of a defendant deliberately directing mail, telephone, and/or email
communications to the forum state,” then a finding of personal jurisdiction
may be proper. Arthur Schuman, Inc. v. Banco Santander Brash, S.A., No.
06-cv-1331, 2008 WL 320430, at 5 (D.N.J. Jan. 30, 2008) (citing Grand
Entm’t, 988 F.2d at 482).

        For example, in Carteret Savings Bank, FA v. Shushan, the Third Circuit
held that telephone calls and correspondence sent into New Jersey from
Louisiana by the representative of a Louisiana real estate developer, coupled
with a meeting in New Jersey to facilitate the closing of a loan, provided the

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minimum contacts needed to satisfy due process. 954 F.2d 141, 146-48 (3d
Cir. 1992).

       In O’Connor, supra, the Third Circuit held that a Barbados defendant
“deliberately reached into Pennsylvania to target two of its citizens” when it
“mailed [plaintiffs] a brochure and traded phone calls with them for the
 purpose of forming an agreement to render spa services” in Barbados. 496 F.3d
 at 318. The Court found that “[t]hrough these acts,” the Barbados defendant
 had purposefully availed itself of the privilege of doing business in
 Pennsylvania. Id.

       In this case, defendants made several communications that were directed
 at the forum state of New Jersey. Defendants initiated contact with Williams
 about the Antigua CIP, (AC      ¶   9; Tian Aff.   ¶   5; Zhou Aff.      ¶   4). They set up a
 meeting with Williams at a New Jersey restaurant near Williams’s home to
 discuss the program. (AC    ¶   11; Irwin Cert.        ¶   8; Tian Aff       ¶   7; Zhou Aff.   ¶   5).
 Defendants also sent emails about the Antigua CIP to Williams, who was in
 New Jersey. (ECF no. 111-8). According to Tian, defendants sent the operative
                                                                9).2
 contract to Williams in New Jersey. (Tian Aff.             ¶
       These contacts, considered one at a time, are hardly overwhelming.
 Taken together, however, they are sufficient to satisfy the “purposeful
 availment” requirement. Like the defendant in Carteret Savings Bank,
 defendants directed communications at New Jersey and visited New Jersey.
 See 954 F.2d at 149; see also Barrett v. Catacombs Press, 44 F. Supp. 2d 717,
 729 (E.D. Pa. 1999) (“While telephone and mail contacts with residents of the


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         Defendants argue that plaintiffs need to submit “actual proofs” and not “mere
 allegations” of personal jurisdiction. (ECF no. 115 ¶ 4). It is true that plaintiffs may
 not “rely on the bare pleadings alone” to withstand a motion to dismiss for lack of
 personal jurisdiction. Patterson, 893 F.2d at 604 (citing Time Share Vacation Club, 735
 F.2d at 66 n.9). In this case, however, plaintiffs have shown phone and email records.
 (ECF nos. 111, 117). Moreover, defendants admit to the contacts on which personal
 jurisdiction is based. Defendants admit that they sent communications to New Jersey
 to contact Williams, met with Williams in New Jersey, and then continued to send
 communications to New Jersey as part of a working relationship with Williams. (Irwin
 Cert. 9 4-5; Tian Aff. 9 6-7, 9; Zhou Aff. 9 4-5). Those facts at least are undisputed.
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forum state can be enough to subject a defendant to jurisdiction, such cases
include other indications of a substantial connection. In Carteret Savings, for
example, in addition to telephoning and corresponding with his client, the
Louisiana lawyer also traveled to New Jersey to visit his client.”). These
contacts demonstrate that defendants purposefully directed their activities to
New Jersey.

              B. Relatedness Requirement

      Second, I must determine whether the contacts meets the “relatedness
requirement”—i.e., whether this litigation arises out of or relates to at least one
of the defendants’ contacts with New Jersey. O’Connor, 496 F.3d at 317.

             S]pecific jurisdiction requires a closer and more direct
      causal connection than that provided by the but-for test.... [T]here
      is no “specific rule” susceptible to mechanical application in every
      case. But in the course of this necessarily fact-sensitive inquiry,
      the analysis should hew closely to the reciprocity principle upon
      which specific jurisdiction rests. With each purposeful contact by
      an out-of-state resident, the forum state’s laws will extend certain
      benefits and impose certain obligations. Specific jurisdiction is the
      cost of enjoying the benefits.
             The relatedness requirement’s function is to maintain
      balance in this reciprocal exchange. In order to do so, it must keep
      the jurisdictional exposure that results from a contact closely
      tailored to that contact’s accompanying substantive obligations.
      The causal connection can be somewhat looser than the tort
      concept of proximate causation, but it must nonetheless be
      intimate enough to keep the quid pro quo proportional and
      personal jurisdiction reasonably foreseeable.
Id. at 323 (internal citations omitted) (paragraph breaks added).

      Thus, specific jurisdiction often hinges upon the relationship between the
defendant’s contacts with the forum and whether the litigation arises out of—or
at least relates to—the defendant’s contacts with the forum. Id. at 317. For
instance, there would probably not be specific personal jurisdiction if
defendants had sent personal emails to one New Jersey resident, but was sued
by other New Jersey residents on an unrelated claim. See Carrabba v. Morgat,

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 No. 2:12-cv-6342, 2014 WL 229280, at *5 (D.N.J. Jan. 17, 2014). Although
 purposeful availment might be present, relatedness would be lacking. Id. On
 the other hand, a single email exchange might support jurisdiction if that very
 communication gave rise to the cause of action. Id. This case is close to the
  second scenario. The defendants sent a communication—several, in fact—into
  New Jersey and arranged an in-person meeting in New Jersey that allegedly
  started a business relationship. That alleged business relationship is now the
  subject of this litigation.

        The contacts in this case specifically pertained to the Antigua CIP and
  the working relationship between plaintiffs and defendants. Defendants sent
  communications to New Jersey to contact a New Jersey resident about a
  business opportunity, went to New Jersey to meet the New Jersey resident, and
  then continued to send communications to New Jersey to facilitate an alleged
  business relationship. Additionally, defendant Tian claims that he signed a
  contract and sent it to Williams. (Tian Aff.   ¶   9); (Alleged Contract). Tian
  therefore allegedly sent a contract to New Jersey. Defendants thus concede the
  existence of at least one significant contact directed at New Jersey. Whether
  this alleged contract governs these parties’ relationship—or whether an alleged
  “verbal services agreement” governs—is the key dispute between the parties,
  but that dispute does not vitiate personal jurisdiction.

         I find that defendants’ communications and visit with Williams satisfies
  the relatedness requirement. Given the defendants’ contacts directed at New
  Jersey, it is reasonable and foreseeable that a claim arising from those contacts
  would be asserted against defendants in New Jersey.

                C. Fairness Requirement

         Third, I must determine whether these contacts satisfy the overall
  “fairness requirement,” i.e., whether exercising jurisdiction otherwise comports
  with traditional notions of fair play and substantial justice. O’Connor, 496 F.3d
  at 317.



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      The existence of minimum contacts makes jurisdiction
      presumptively constitutional, and the defendant “must present a
      compelling case that the presence of some other considerations
      would render jurisdiction unreasonable.” See Burger King, 471 U.s.
      at 477; see also Pennzoil Prods. Co. i-’. Colelli & Assocs., Inc., 149
      F.3d 197, 207 (3d Cir. 1998) (noting that if minimum contacts are
      present, then jurisdiction will be unreasonable only in “rare
      cases”); Grand Entm’t Group, Ltd. v. Star Media Sales, Inc., 988
      F.2d 476, 483 (3d Cir. 1993) (“The burden on a defendant who
      wishes to show an absence of fairness or lack of substantial justice
      is heavy.”).
Id. at 324. As the Supreme Court has stated, “[w]hen minimum contacts have
been established, often the interests of the plaintiff and the forum in the
exercise of jurisdiction will justih’ even the serious burdens placed on the alien
defendant.” Asahi Metal Indus. Co., Ltd. v. Superior Court of California, 480 U.S.
 102, 114 (1987).

      For instance, the Third Circuit held that Pennsylvania had a “manifest
interest in providing effective means of redress” when a Barbados company
reached into Pennsylvania by sending brochures and making phone calls,
solicited Pennsylvania citizens to travel to Barbados, and those citizens were
injured in Barbados. O’Connor, 496 F.3d at 325 (citing McGee v. Int’l Life Ins.
 Co., 355 U.S. 220, 223 (1957)). The burdens on the Barbados company were
“substantial.” Id. They had to travel 2,000 miles to defend themselves in a
foreign legal system in Pennsylvania. Id. at 324-25. There were also reasons of
fairness weighing in favor of adjudicating the case in Barbados, Most of the
witnesses were in Barbados and Barbados had its own “substantive interest” in
determining the rights and liabilities of its own domestic corporations. Id.
Nonetheless, the Third Circuit held that subjecting the Barbados company to
personal jurisdiction in Pennsylvania did not offend traditional notions of fair
play and substantive justice. Id. at 325.

      The task before the court is not to select the “best” forum for plaintiffs or
defendants; it is only to disallow litigation in a forum that does not meet
minimal constitutional standards of personal jurisdiction. Defendants do not

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 present, and I do not see, a compelling case that litigating in New Jersey would
 be unreasonable and unfair, given the acts and expectations of the parties
 discussed above. While it may be a burden for Tian and Jiahao to litigate in
 New Jersey, New Jersey has a “manifest interest” in providing an effective
 means of redress against defendants.

        Applying factors A, B, and C, then, I find that the court possesses
 personal jurisdiction over the defendants.

        IV.   CONCLUSION

        For the foregoing reasons, I find that this court possesses personal
 jurisdiction over the defendants, Tian, Zhou, and Jiahao. Defendants’ motion
  to dismiss for lack of personal jurisdiction under Federal Rule of Civil
  Procedure 12(b)(2) is therefore denied.

        An appropriate order accompanies this opinion.



  Dated: January 30, 2018




                                                 United States District




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